Case 23-50444-JTD   Doc 36-2   Filed 09/15/23   Page 1 of 5




                    (;+,%,7
                Case 23-50444-JTD                Doc 36-2         Filed 09/15/23   Page 2 of 5




                                           Delaware                                                    Page 1

                                                       The First State



             I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

    DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

    COPY OF THE CERTIFICATE OF INCORPORATION OF “PLATFORM LIFE

    SCIENCES, INC.”, FILED IN THIS OFFICE ON THE THIRTY-FIRST DAY

    OF MARCH, A.D. 2022, AT 7:21 O`CLOCK P.M.




6709896 8100                                                                           Authentication: 203070477
SR# 20221262508                                                                                    Date: 04-01-22
You may verify this certificate online at corp.delaware.gov/authver.shtml
Case 23-50444-JTD   Doc 36-2   Filed 09/15/23   Page 3 of 5
Case 23-50444-JTD   Doc 36-2   Filed 09/15/23   Page 4 of 5
Case 23-50444-JTD   Doc 36-2   Filed 09/15/23   Page 5 of 5
